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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION
                                    Us AT DAYTON

PATRICIA MARTIN, Individually and             : Case No.
as Administratrix of the Estate of her Son,   :
Dontae Martin Sr.                             : Judge
c/o Wright & Schulte, LLC.                    :
130 West 2nd Street, Suite 1600               :
Dayton, OH 45402,                             :
                                              : COMPLAINT AND JURY DEMAND
               Plaintiff,                     :
                                              :
      v.                                      :
                                              :
JOSHUA HAAS                                   :
individually and in his official capacity     :
as an employee of Montgomery County           :
c/o Montgomery County Sheriff’s               :
Office                                        :
345 West Second Street                        :
P.O. Box 972                                  :
Dayton, Ohio 45422-2427,                      :
                                              :
and                                           :
                                              :
GUST TEAGUE                                   :
individually and in his official capacity     :
as an employee of Montgomery County           :
c/o Montgomery County Sheriff’s               :
Office                                        :
345 West Second Street                        :
P.O. Box 972                                  :
Dayton, Ohio 45422-2427,                      :
                                              :
and                                           :
                                              :
SHERIFF PHIL PLUMMER,                         :
individually and in his official capacity     :
as an employee and Sheriff of                 :
Montgomery County                             :
c/o Montgomery County Sheriff’s               :
Office                                        :
345 West Second Street                        :
P.O. Box 972                                  :
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 Dayton, Ohio 45422-2427                       :
                                               :
 and                                           :
                                               :
 MONTGOMERY COUNTY, Ohio and                   :
 THE MONTGOMERY COUNTY                         :
 BOARD OF COMMISSIONERS                        :
 In Their Official Capacities                  :
 451 W. Third Street                           :
 Dayton, Ohio 45422                            :
                                               :
 and                                           :
                                               :
 JOHN AND JANE DOES 1 – 10                     :
 c/o Montgomery County Sheriff’s               :
 Office                                        :
 345 West Second Street
 P.O. Box 972
 Dayton, Ohio 45422-2427,

                   Defendants.

 ___________________________________________________________________________

                               I. PRELIMINARY STATEMENT

1.       This civil rights action challenges the gratuitous, excessive, and objectively

unreasonable force used against an unconscious Dontae Martin, Sr. who was laying back in his

car, not moving, when two Montgomery County Sheriff’s deputies, Joshua Haas and Gust

Teague, open fired on him, killing him.

                                       II. JURISDICTION

2.       Jurisdiction over claims arising from Defendants’ violation of the Civil Rights Act is

conferred upon this Court by 28 U.S.C. §§ 1331, 1343 (3) and (4).

3.       Jurisdiction over the state law claims is conferred upon this Court by 28 U.S.C.

§1367.

4.       Venue is proper in this Division.




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                                       III. THE PARTIES

5.        Plaintiff, Patricia Martin, is the mother of, decedent, Dontae Martin, Sr., who was a

resident of Montgomery County, Ohio and a citizen of the State of Ohio at the time of his

death. Ms. Martin brings this suit as the Administratrix of the Estate of Dontae Martin, Sr. for

the benefit of his estate including but not limited to his five children, and all other heirs.

6.        Defendant Joshua Haas is a “person” under 42 USC § 1983 and was at all times

relevant to this action employed by the Montgomery County Sherriff’s Department as a deputy

and acting under color of law. He is sued in his individual and official capacities.

7.        Defendant Gust Teague is a “person” under 42 USC § 1983 and was at all times

relevant to this action employed by the Montgomery County Sheriff’s Department as a deputy

and acting under color of law. He is sued in his individual and official capacities.

8.        Defendant Phil Plummer, Sheriff of Montgomery County, Ohio is a “person” under

42 USC § 1983 and was at all times relevant to this action employed by the Montgomery

County Sheriff’s Department as a deputy and was responsible for supervising activities and

subsequently ratified the conduct and activities of Deputies Haas and Teague, and acting under

color of law. He is sued in his individual and official capacities.

9.        Montgomery County is a is a unit of local government organized under the laws of

the State of Ohio. Defendant is a “person” under 42 U.S.C. § 1983 and at all times relevant to

this case acted under color of law. The Board is sued in its official capacity.

10.       Defendants John and Jane Does were persons under 42 USC § 1983 who were

employed by the Montgomery County Sherriff’s Department and were responsible for

supervising the activities of the Montgomery County Sheriff’s Department, including Deputies




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Haas and Teague, and who were acting under color of law. They are each sued in his/her

individual and official capacity.

                                           IV. FACTS

11.      Dontae Martin was 34 years old when he was killed. He was the loving and devoted

father of five young children who miss him dearly.

12.      On the evening of July 23, 2015, Mr. Martin was incapacitated in his vehicle

following a minor accident involving his car rolling into a neighbor’s mailbox, located on

Springbrook Drive in Harrison Township, Montgomery County, Ohio.

13.      Defendant Deputies Haas and Teague were dispatched to the scene following reports

of a car accident where no one had gotten out of the vehicle.

14.      The Deputies knew that they were responding to the scene of a car accident where

injuries were suspected. They knew that they were not responding to a crime scene. They

were dispatched to the scene without lights and sirens.

15.      Defendants Hass and Teague arrived in separate cruisers. At no time did either officer

activate his lights or sirens. As such, neither dash camera recorded what happened.

Additionally, neither officer wore a body camera.

16.      Neighbors were outside their homes watching the officers, concerned for the driver

who had not yet emerged from the car. Some neighbors had a clear view of the vehicle and the

officers and were able to see inside the vehicle when other car’s lights or the officer flashlights

lit up the inside of the car. At no time did Dontae Martin move or regain consciousness. His

head remained back on the reclined seat’s headrest during the entire encounter with the

Deputies.




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17.      Dontae Martin was seated in the driver’s seat, which was in an almost fully reclined

position after the accident.

18.      Defendants Haas and Teague approached Mr. Martin’s vehicle from behind without

identifying themselves. Deputy Haas approached from the rear driver’s side and Deputy

Teague approaching from the rear passenger’s side. Both Deputies approached with their guns

drawn and aimed at Mr. Martin. They each shined their flashlights into the vehicle.

19.      Each Defendant approached from the rear of the vehicle, at such an angle they could

not see clearly into the front compartment of the vehicle. However, with their flashlights

trained on Mr. Martin, they could see he was not moving, with his head was back on the

headrest, in the almost fully reclined driver’s seat.

20.      Deputy Hass claims he saw a gun near Mr. Martin’s lap and yelled “he has a gun” or

“drop the gun.” Because he was not conscious, Dontae Martin was unable to respond to verbal

statements from Deputies Haas and Teague. Immediately, both deputes unloaded their

weapons into Mr. Martin, firing from both sides of the vehicle. Deputy Hass fired six shots

and Deputy Teague fired seven shots. Mr. Martin died soon thereafter of multiple gunshot

wounds to his head, chin, cheeks, back of his neck, back of his shoulder, his upper back and

his upper chest.

21.       Defendants initiated deadly force against Mr. Martin without justification. Less than

90 seconds elapsed from the time the Deputies arrived on scene to when they shot and killed

Mr. Martin.

22.      In violation of crime scene procedures, after the shooting, Defendants searched Mr.

Martin’s vehicle, found a weapon, and removed if from his vehicle.




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23.      As a direct and proximate result of the conduct of Defendants Haas, Teague and

Does, Dontae Martin, Sr. suffered physical injury, pain and suffering immediately following

the shooting and then promptly died due to the massive trauma from the multiple gunshots

caused by the almost point blank gunshots from Deputies Haas and Teague’s firearms. The

source of the claim is the aforementioned personal physical injury and wrongful death of

Dontae Martin, Sr.

24.      As a further direct and proximate result of Dontae Martin Sr.’s wrongful death, Mr.

Martin’s survivors, next of kin and/or heirs have suffered permanent damages, including but

not limited to, grief, depression, and severe emotional distress. They have incurred funeral bills

and other expenses and will incur additional expenses in the future.

       V. FIRST CAUSE OF ACTION – CLAIM FOR EXCESSIVE FORCE §1983

25.      Plaintiff incorporates all foregoing paragraphs of this Complaint by reference as if

fully rewritten herein.

26.      Defendants Haas and Teague were carrying out a governmental function in

employing the excessive use of force resulting in the wrongful death of Mr. Martin.

27.       Mr. Martin posed no threat to the deputies, but was shot multiple times by both

officers. The actions taken by Defendants Haas and Teague were excessive and objectively

unreasonable under clearly established law.

28.      The Defendants have, under color of law, deprived Plaintiff of clearly established

rights, privileges and immunities secured by the Fourth Amendment to the United States

Constitution of which a reasonable person would have known. These rights include, but are

not limited to, the right to be free of seizures without probable cause and to be free of

excessive force.




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              VII.    SECOND CAUSE OF ACTION – WRONGFUL DEATH

29.       Plaintiff incorporates all foregoing paragraphs of this Complaint by reference as if

fully rewritten herein.

30.       Defendants actions caused the wrongful death of Dontae Martin, Sr. resulting in

damages recoverable under R.C. §2125.02.

 VII.     THIRD CAUSE OF ACTION- MUNICIPAL LIABILITY UNDER 42 U.S.C. §
                    1983 AND THE FOURTH AMENDMENT

31.      Plaintiff incorporates all foregoing paragraphs of this Complaint by reference as if

fully rewritten herein.

32.      At all relevant times mentioned herein, Montgomery County employed Defendants

Haas and Teague as deputies of the Montgomery County Sheriff’s Department. Montgomery

County provided these employees with official badges, identification, and uniforms, which

designated and described them as Montgomery County Sherriff’s deputy employees.

33.      Based upon the principles set forth in Monell v. New York City Department of Social

Services, 436 U.S. 658 (1978), Montgomery County is liable for the death of Dontae Martin

and all injuries sustained by his next of kin as set forth herein.

34.      The policies, practices and/or customs of the Montgomery County Sheriff’s

Department were the moving force behind the excessive force used to cause Mr. Martin’s

death.

35.      Despite the facts and circumstances surrounding the fatal shooting of Dontae Martin,

that clearly demonstrate the shooting and killing was unreasonable and unlawful, upon

information and belief, Defendants Montgomery County and Phil Plummer have failed to

meaningfully investigate the excessive use of force, impose any discipline on Defendants

Haas, Teague, and Does, and thereby ratified the actions of these Defendants.



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36.      Additionally, Montgomery County through the Sheriff’s Department under the control

and leadership of Phil Plummer maintained or permitted one or more of the following official

policies, customs, or practices which included, inter alia, deliberately indifferent to the

constitutional rights of persons involved in car accidents to be free from unreasonable deadly

force, such as Mr. Martin:

        a. Failure to provide adequate training and supervision to Sheriff’s deputies with

           respect to constitutional limits on use of force;

        b. Failure to adequately discipline or retrain officers involved in misconduct;

        c. Selection, retention, and assignation of officers with demonstrable propensities for

           excessive force, violence, dishonesty, and other misconduct;

        d. Ratification by the highest levels of authority of the specific unconstitutional acts

           alleged in this complaint;

        e. Law Enforcement Code of Silence; and/or

        f. Failure to properly and meaningfully investigate the shootings of civilians,

           particularly young Black men;

37.       These policies, practices, actions, and customs were the moving force behind, inter

alia, the unreasonable shooting of Dontae Martin Sr., and together were the direct and

proximate cause of the unconstitutional acts committed in this case and the injuries and death

sustained by Dontae Martin, Sr. and his Estate.

                                 VIII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff requests this Court to award her:

            A. Compensatory damages in an amount greater than Seventy-Five Thousand

                Dollars ($75,000.00);




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          B. Punitive damages in an amount to be shown at trial;

          C. Reasonable attorney fees;

          D. Prejudgment interest;

          E. Costs incurred in this action;

          F. Such other and further relief as the Court may deem just and proper.



                                                             Respectfully Submitted,

/s/ Jennifer L. Branch                             /s/ Robert L. Gresham______________
Alphonse A. Gerhardstein (0032053)                 Michael L. Wright (0067698
Trial Attorney for Plaintiff                       Robert L. Gresham (0082151)
Jennifer L. Branch (0038893)                       130 W. Second St., Suite 1600
Gerhardstein & Branch, Co LPA                      Wright & Schulte, LLC.
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agerhardstein@gbfirm.com                           rgresham@yourohiolegalhelp.com
jbranch@gbfirm.com                                 Attorneys for Plaintiff




                                      JURY DEMAND

      Plaintiff hereby demands a trial by jury of all issues triable by a jury.

                                              /s/ Robert L. Gresham______________
                                              Attorney for Plaintiff




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